                                                                     Case 1:23-mi-99999-UNA Document  2282-11 Filed 07/19/23 Page 1 of 1
                                                                                                2023CV00526                                                                                            e-Filed 4/25/2023 10:11 AM




                                                                                                                                                                                                                      Tiki Brown
                                                                                                                                                                                                             Clerk of State Court
                                                                                                                                                                                                        Clayton County, Georgia
                                                                                                                                                                                                                 Hannah Lowery




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                                                                                                  Case No.:                                2023CV00526
  RONALD WRIGHT
                                                         Plaintiff/Petitioner
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 VS.                                                                                              AFFIDAV
           R R ED O N D O, E T A L .                                                                                                    T IF F ’S FIR S T
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                                                   Defendant/Respondent                           SUM M O NS '
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NAME:                                                                                                                                                                                              L
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             Angelica Vasquez

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Personally known to me                             ——-——-

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Notary Pui ‘al Signature)
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